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Attorneys for Plaintiff

Tesla, Inc.
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
TESLA, INC., a Delaware corporation, Case No. 3:18-cv-296
Plaintiff, PLAINTIFF TESLA, INC.’S SECOND
EMERGENCY MOTION FOR
VS. AUTHORIZATION TO ISSUE DOCUMENT

PRESERVATION SUBPOENAS
MARTIN TRIPP, an individual,

Defendant.

 

 

DECLARATION OF ANDREW LINDEMULDER

I, Andrew Lindemulder, declare as follows:

1. T am an employee of Tesla, Inc., Plaintiff in this action. I have personal knowledge
of the facts set forth in this Declaration and, if called as a witness, could and would testify

competently to such facts under oath.
2. Earlier this month, Tesla opened an investigation into one of its employees,
Defendant Martin Tripp, who was suspected of extracting confidential and trade secret information

from Tesla’s systems and sharing it with one or more third parties.

 
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3. During an interview with me on June 14, 2018, Tripp admitted to transferring
Tesla’s confidential and trade secret data outside of the company, including via his personal email
and cloud storage accounts. Tripp explained that he did so at least in part by text message, from a
phone Tesla subsequently learned uses the AT&T Wireless network. Tripp also admitted that he
had been deleting such materials to “cover [his] tracks.”

4. Subsequent investigation by Tesla has revealed that Tripp also may have been using
the messaging services Facebook Messenger (associated with Facebook, Inc.), WhatsApp
(associated with WhatsApp, Inc.), and Signal (associated with Open Systems Inc.) to share Tesla’s
confidential and proprietary information with third parties. In addition, Tripp may have uploaded
Tesla materials to his account with Dropbox, Inc.

I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

Executed on this a6 rh day of June ; d0Ie , at Sparks, Nevada.

Me KA

Andrew Lindemulder

 
